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Case 1:24-cv-00045-AW-ZCB Document 8-5 Filed Og? bled Page obduntr

KRISTEN M. SCALISE CPA, CFE
FISCAL OFFICER, COUNTY OF SUMMIT
175 S. MAIN STREET, STE 320

AKRON, OH 44308-1341

PARCELNO. 06-00207

28327 2 MA 0.543

HALES JEREMY B_ 100152

2436 W STREETSBORO RD

PENINSULA OH 44264

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06 BOSTON TWP-WOODRIDGE LSD

TR2LOT 1SSS OF STREETSBOR RD 3.46AC
HALES JEREMY B

2436 STREETSBORO RD

Taxable Appraised

LAND VALUE: 28,190 80,540
BLD VALUE: 221,020 631,490
TOTAL VALUE: 249,210 712,030

TAX RATE: 94.900000
EFFECTIVE TAX RATE: 67.037062
REDUCTION FACTOR: 0.293603
Non Business Credit Factor: 0.075294
ner Occupied Credit Factor: 0.018823
@::: COUNTY-AKRON ZOO 21Al
MMIT COUNTY-BD OF DEV DISABILITI
} SUMMIT COUNTY-BOND RETIREMENT
| SUMMIT COUNTY-CHILD SER 19RI
- SUMMIT COUNTY-CHILDREN SERVICES BO
SUMMIT COUNTY-GENERAL
| SUMMIT COUNTY-MENTAL HEALTH 20R
| BOSTON TWP
_ WOODRIDGE LSD
| SUMMIT METRO PARKS-GENERAL 21RI
AKRON SUMMIT LIBRARY

"VALLEY FIRE DISTRICT
UNION CEM ASSOC. OF BOSTON TWP

REAL ESTATE TAXES FOR STUB NO alae ey Lem

1ST HALF 2023 6129247 06-00207

MESSAGE

You may make your payment at the following Summit County bank
branches:
Apple Creek Banking Co. Westfield Bank Key Bank

Tax bills can be paid online or by phone. If paying by debit/credit card, a
nominal service fee is charged by ACI. If paying by electronic check, $1
fee. To pay taxes online go to
https://fiscaloffice.summitoh.net/index.php/on-line-tax-payments .
Taxpayers will need their parcel number to pay by phone. Call
1-800-272-9829 and follow the prompts. Jurisdiction code is 4596.

E NOT PAID WITHIN SIXTY DAYS FROM THE DATE THEY ARE

Bete Ger 2 DELINQUENT, THIS PROPERTY IS SUBJECT TO FORECLOSURE FOR TAX
Bae ae

Email: summittreas@summitoh.net

Website: https://fiscaloffice.summitoh.net/

Phone: 330-643-2587 Toll Free: 1-888-388-5613

Office Hours: Monday Through Friday 7:30 A.M. to 4:00 P.M.

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Current Net Taxes and Asmts (Year) 15,149.34

Gross Taxes 11,825.02
Reduction Factor -3,471.86
Subtotal 8,353.16
| Non Business Credit -628.95
| Owner Occupancy Credit -149.54

Current Net Taxes 7,574.67

"DUE DATE
02/29/2024 7,574.67

*TO AVOID LATE PENALTY, ENVELOPE MUST BE U.S. MAIL POSTMARKED BY THE
DUE DATE.
See reverse side for payment instructions

